Case 3:17-cv-00321-WKW-SMD    Document 6-15     Filed 05/18/17   Page 1 of 46




                               EXHIBIT K


                To Declaration of Micah West in Support of
                    Motion for Preliminary Injunction
                     & Motion for Class Certification
Case 3:17-cv-00321-WKW-SMD                   Document 6-15           Filed 05/18/17        Page 2 of 46




         The Heavy Costs of High Bail: Evidence from Judge
                                        Randomization

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                                                Abstract

       In the United States, roughly 450,000 people are detained awaiting trial on any given day,
       typically because they have not posted bail. Using a large sample of criminal cases in
       Philadelphia and Pittsburgh, we analyze the consequences of the money bail system by
       exploiting the variation in bail-setting tendencies among randomly assigned bail judges.
       Our estimates suggest that the assignment of money bail causes a 12% rise in the likeli-
       hood of conviction, and a 6–9% rise in recidivism. Our results highlight the importance
       of credit constraints in shaping defendant outcomes and point to important fairness con-
       siderations in the institutional design of the American money bail system.




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                                                    1
Case 3:17-cv-00321-WKW-SMD                   Document 6-15           Filed 05/18/17         Page 3 of 46




1        INTRODUCTION

Roughly 450,000 people in the United States are held in jail awaiting trial on any given day.1

These individuals have not been convicted of a crime and are presumed to be innocent of the

charges for which they have been jailed. For the majority of defendants the barrier to release

is financial: they are unable or unwilling to post bail. Due to limited judicial resources,

defendants often remain incarcerated for months or years awaiting trial.2 Many defendants

who are detained on money bail before trial eventually choose to plead guilty in exchange for

release, rather than risking continued detention or an uncertain trial outcome.

        There is significant evidence of a correlation between pretrial detention and both convic-

tion and recidivism, consistent with a direct impact of bail assessment on defendant outcomes

(for instance, Lowenkamp, VanNostrand and Holsinger (2013a), Lowenkamp, VanNostrand

and Holsinger (2013b), Phillips (2007), and Phillips (2008)). However, prior research has

struggled with causally estimating the impact of money bail due to the endogenous nature

of detention hearings.3 When judges determine whether to release an arrestee and the con-

ditions of such release, they consider, among other things, the facts of the case, the strength

of the evidence, and the arrestee’s criminal history, ties to the local community, and financial

resources. These factors may be related to factual guilt and render correlations between

money bail assessments and outcomes like convictions and recidivism difficult to interpret.

        This paper investigates the causal impact of money bail on convictions and recidivism

using comprehensive court data from the two largest cities in Pennsylvania: Philadelphia and

Pittsburgh. By money bail, we refer to the requirement that criminal defendants post a cash

amount as bail in exchange for freedom before trial.4 In Philadelphia, defendants are assigned

bail at a centralized, 24-hour-a-day court presided over by arraignment court magistrates,

whom we refer to as judges for convenience. These judges differ in what we call severity, or

the propensity to assess bail. All else being equal, some judges assess money bail frequently,

while others do so sparingly. The Philadelphia system assigns defendants to bail judges in
    1
     See http://www.bjs.gov/content/pub/pdf/jim14.pdf.
    2
     In our data, the median time between bail arraignment and trial is 200 days.
   3
     A notable exception is Abrams and Rohlfs (2011) who exploit an experiment in Philadelphia in the 1980s.
   4
     Other forms of bail may require non-monetary conditions, or only require the defendant to pay in the
event of a non-appearance.


                                                     2
Case 3:17-cv-00321-WKW-SMD              Document 6-15         Filed 05/18/17       Page 4 of 46




an effectively random manner, creating a natural experiment that we exploit to determine

the role of money bail in determining defendant outcomes. We document that defendants’

assignment to more severe judges raises the probability of being assessed money bail for

reasons unrelated to other case factors, including defendant characteristics. This natural

experiment allows us to then study the implications of effectively exogenous impositions of

money bail on further defendant outcomes.

   We find that the assessment of money bail is a significant, independent cause of convictions

and recidivism. In Philadelphia, criminal defendants who are assessed money bail are 12% (6

percentage points) more likely to be convicted. These effects appear to be driven by the subset

of cases where arrestees are detained due to their inability to post bail. We also investigate

money bail assessment and outcomes in Pittsburgh, where judicial assignment is based on

arrest location, and find similar results. We combine the Philadelphia and Pittsburgh samples

to gain statistical precision in examining the lasting negative effects of money bail after the

conclusion of the underlying criminal case. We document that the assessment of money bail

increases recidivism in our sample period by 6-9% yearly (0.7 percentage points).

   Our results are primarily driven by whether money bail is required and not by the amount

of money bail. In other words, the assessment of money bail, rather than the bail size, appears

to cause convictions. A key implication of this finding is that simply lowering required bail

amounts will not ameliorate harms imposed by money bail. Our findings persist among a

number of subgroups—non-white defendants, those assigned a public defender, and male

defendants. We find estimates that are even larger among defendants charged with felonies,

though we do not reach statistical significance in that sample. This suggests that our effects

are not merely driven by convictions for petty crimes.

   We do not attempt to isolate the exact channel by which money bail causes convictions

and recidivism. Money bail, as a source of pretrial detention, imposes significant costs on de-

fendants. As the Supreme Court wrote in Gerstein v. Pugh (420 U.S. 103, 114 [1975]) pretrial

detention “may imperil the suspect’s job, interrupt his source of income, . . . impair his family

relationships [and affect his] ability to assist in preparation of his defense.” Many defendants

who are detained on money bail before trial may consequently choose to plead guilty to avoid


                                               3
Case 3:17-cv-00321-WKW-SMD                   Document 6-15           Filed 05/18/17         Page 5 of 46




or minimize further detention. Prosecutors commonly offer detained defendants a plea of

“time-served,” where defendants will receive credit for time already spent in detention and

will therefore be released immediately upon conviction. Other potential channels include the

difficulty detained defendants have communicating with their counsel and properly prepar-

ing a defense; changes in behavior among various institutional actors such as prosecutors,

defense attorneys, judges, and jurors toward defendants who are incarcerated pretrial; the

limited opportunity for detained arrestees to participate in diversionary programs and other

resolutions not resulting in convictions; and the financial strain of making bail.5 Money bail

may also directly influence recidivism through the harms of pretrial incarceration imposed

upon those those unable to make bail, post-trial incarceration following conviction, or the

stigma of conviction.6

       Despite the multiplicity of possible channels, we emphasize that our results provide novel

evidence of a causal role of money bail and pretrial detention on defendant outcomes. The

relationship between money bail, conviction, and recidivism suggests a strong interaction

between poverty and the criminal justice system. A large literature has examined the credit

constraints facing American households that make even small money bail amounts difficult to

post (see Lusardi, Schneider and Tufano (2011)). While it is feasible that money bail could

impact convictions among those with sufficient liquid assets to post bail, it is more likely that

these effects come primarily from the credit-constrained. It is important to note that a large

majority of arrestees in our sample qualified for representation by the public defender, and

therefore are presumably indigent.

       The interactions between money bail and subsequent defendant outcomes pose substan-

tive legal issues. From a liberty perspective, these relate to the incarceration of presumptively

innocent people and the basic assumption that convictions reflect only the merits of the un-

derlying case. Bail also raises equality issues related to the requirement of equal access to

justice and the prohibition against wealth discrimination. Racial is a further concern, and

we find evidence consistent with racial discrimination in bail setting: non-white defendants
   5
     Though bail bondsmen can front bail amounts in exchange for a collateral value which is typically 10%,
even these relatively smaller collateral values may be out of reach for criminal defendants facing liquidity
constraints. In Philadelphia, the court may accept 10% of the bail amount.
   6
     See, e.g., Baylor (2015);Appleman (2012); Phillips (2008).


                                                     4
Case 3:17-cv-00321-WKW-SMD                   Document 6-15            Filed 05/18/17         Page 6 of 46




are more likely to be assessed money bail, yet less likely to be found guilty. However, this

correlation is suggestive, and may reflect unobserved factors that are correlated with race.

       Our findings also raise institutional design questions regarding the American money bail

system as a whole. The money bail system in Philadelphia and Pittsburgh has a lot in

common with the money bail systems used in many cities around the country, such as New

York and Baltimore. Arrestees see a judicial officer who determines whether to release a

person pending trial or impose money bail. Those people who are unable to pay their bail

have the opportunity to plead guilty or remain in jail until trial. In systems to the one in

Philadelphia and Pittsburgh, our research suggests that money bail causes convictions and

recidivism.7

       One suggested solution to the perceived inequities of pretrial detention is the adoption of

empirical pretrial risk assessments. Such tools, based on multivariate models built from large

sets of defendant data, create recommendations for release or conditions of release. Despite

the use of such assessment tools in Philadelphia and Pittsburgh in the time period covered

by our analysis, judges varied widely in assessing bail amounts for similar defendants, calling

into question the ability of such tools to rein in judicial discretion.

       To contextualize our findings on guilt and recidivism, we examine whether the assessment

of money bail induces defendants to appear at trial, the stated purpose of the money bail

system. As we are unable to explicitly observe defendants failing to appear, we construct

two proxies based on the issuance of bench warrants. While these proxies are imperfect —

both likely understate the true number of failures to appear — we find no evidence that

money bail increases the probability of appearance. These results should be interpreted

as preliminary, and a more nuanced study of court appearances using more complete date

is necessary. Nevertheless it is notable that we are unable to find an obvious impact of

money bail. Pretrial detention is expensive. Philadelphia spent an estimated $290 million on

jailing in 2009, and 57% of the daily jailed population was detained awaiting trial (Eichel,

2010). Rationalizing the costs imposed by money bail (via detention costs, convictions and
   7
    Of course, the impact may differ depending on the population. For instance, in certain places, defendants
may be relatively well-off and have the general ability to pay money bail. In such a place, we would expect
that the causal impact of money bail would be lower than in Philadelphia, where many people are too poor
to pay their bail.


                                                     5
Case 3:17-cv-00321-WKW-SMD                      Document 6-15            Filed 05/18/17          Page 7 of 46




recidivism) requires substantial compensating public benefits, and we find no evidence that

such benefits exist.
      Our research has a close connection to the literature on pretrial justice.8 There is a large

body of evidence suggesting that pretrial custody status is associated with the ultimate out-

comes of criminal cases, with detained defendants consistently faring worse than defendants

at liberty (See ABA Standards for Criminal Justice: Pretrial Release 29 (3d. ed. 2007)). Past

work has uncovered the correlation between money bail, pretrial detention, and conviction

(e.g. Phillips (2007), Phillips (2008)), and examined other policy considerations regarding the

design of pretrial detention systems (See Lowenkamp, VanNostrand and Holsinger (2013a),

Lowenkamp, VanNostrand and Holsinger (2013b), Bechtel et al. (2012), and Phillips (2012)).
      In the economics literature, beyond Abrams and Rohlfs (2011), our work is most closely

related to papers utilizing random assignment of judges within the criminal justice system

such as Kling (2006), Doyle Jr (2007), Doyle Jr (2008), Mueller-Smith (2016) and Aizer and

Doyle (2015), as well as in other contexts, such as Chang and Schoar (2007), and Dobbie and

Song (2015). Especially relevant is concurrent and complementary work by Stevenson (2016),

which uses a similar approach in Pennsylvania to examine the impacts of pretrial detention

on case outcomes. Our work differs in that we also examine recidivism and establish a long-

term negative outcome of incarcerations spells. We also differ in that our approach focuses

on the decision of judges to set money bail, rather than the detention status of defendants.9
      Our paper is structured as follows: Section 2 presents legal background on the money bail

system in Philadelphia and Pittsburgh, Section 3 explains our data and empirical strategy,

Section 4 contains estimation results, and Section 5 concludes.


2      LEGAL BACKGROUND AND BAIL HEARINGS

2.1     Legal Background

Any person who is arrested without a warrant is entitled to a hearing within 48 hours of

arrest, see Cnty. of Riverside v. McLaughlin (500 U.S. 44, 56 [1991]) and (Gerstein, 420 U.S.
   8
     The Pretrial Justice Institute has created an exceptionally detailed bibliography, available at:
http://www.pretrial.org/wpfb-file/pji-pretrial-bibliography-pdf/.
   9
     In principle, guilty pleas may be affected by bail setting even when bail is posted due to the financial cost
of making bail. Our Table 5 examines the consequence of bail setting on the full interaction of outcomes of
pre-trial detention and case guilty.


                                                        6
Case 3:17-cv-00321-WKW-SMD              Document 6-15         Filed 05/18/17       Page 8 of 46




at 114). At this hearing, a judicial officer must determine whether there is probable cause for

the arrest prior to the imposition of “any significant pretrial restraint of liberty.” (Gerstein,

420 U.S. at 125). Across the country, this initial appearance has evolved into a “hearing at

which the magistrate informs the defendant of the charge in the complaint, and of various

rights in further proceedings, and determines the conditions for pretrial release.” Rothgery

v. Gillespie Cnty, Tex (554 U.S. 191, 199 [2008]).

   At a bail hearing, judges have a number of options available to them:


  1. Release on Recognizance (ROR) — Requires the defendant only to agree to appear at

      a later date

  2. Non-Monetary Conditions — Allows some non-monetary restriction to be placed on

      the defendant, such as pretrial supervision or a curfew

  3. Unsecured Monetary Condition — Written agreement to be liable for a fixed financial

      payment, akin to a promissory note.

  4. Secured Monetary Condition — Defendant must satisfy a financial condition paid to the

      court either directly, through a bail bondsman, or other collateral such as real property,

      in order to secure release

  5. No Bail — Defendant is to be held pending trial


   A variety of constitutional and legal protections constrain the discretion of judicial officers

in determining whether to detain or release a defendant and what conditions to place on

such release. First, pretrial liberty is a fundamental right independently guaranteed by the

Constitution. See Foucha v. Louisiana (504 U.S. 71, 80 [1992]); U.S. v. Salerno (481 U.S.

739, 750 [1987]). “In our society liberty is the norm, and detention prior to trial or without

trial is the carefully limited exception.” (Salerno, 481 U.S. at 755). Therefore pretrial

detention must be “narrowly focus[ed]” to the government’s “compelling” interests in public

safety and return to court. (See Salerno, 481 U.S. at 750-51) and Stack v. Boyle (342 U.S.

1, 4 [1951]); ABA Standards for Criminal Justice: Pretrial Release 37 (3d. ed. 2007). In

determining whether to release a defendant, and what conditions to place on such release,

                                               7
Case 3:17-cv-00321-WKW-SMD                Document 6-15         Filed 05/18/17       Page 9 of 46




the judicial officer must make an individualized assessment of the case and defendant. (See

Stack, 342 U.S. at 5).

      Bail also raises issues covered under the Equal Protection Clause of the Fourteenth

Amendment to the Constitution, which has been interpreted to prohibit “punishing a person

for his poverty.” Bearden v. Georgia (461 U.S. 660, 671 (1983)). Persons may not be incar-

cerated solely due to their inability to make a payment. (See Bearden, 461 U.S. at 671) and

Tate v. Short (401 U.S. 395 [1971]); Williams v. Illinois (399 U.S. 235 [1970]); and Smith v.

Bennett, (365 U.S. 708, 709 [1961]). For this reason such payments must take into account a

person’s financial resources.

      These guarantees find a statutory parallel in the Pennsylvania Rule of Criminal Proce-

dure 523, which explicitly requires magistrates to consider arrestees’ financial resources when

setting money bail.


2.2     Bail Hearings

In Pennsylvania, a magistrate presides over the initial appearance of an arrestee. In Philadel-

phia particularly, a centralized bail court operates 24 hours a day. Defendants from across the

city appear before one of a team of appointed magistrates who conduct the initial detention

hearing. Magistrates generally preside via CCTV over satellite locations in the city where

arrestees are held. The centralized location, high case load, constant process, and rotating

magistrate calendar result in the effectively random assignment of defendants to magistrates

(an assumption we test). Importantly for our purposes, magistrates in Philadelphia only

preside over the initial appearance; they do not preside over subsequent hearings or trials.

As a result, magistrates only impact the case at the bail assessment, and not at later stages.

      In Pittsburgh, magistrates are elected to a six-year term to serve in a district court, which

administers a particular geographic section of Allegheny county. A single magistrate handles

the majority of the arrests that occur within their jurisdiction, although many arrestees are

seen by other magistrates during weekends, nights, and other periods when the presiding

magistrate is not in service. As a result, defendants in Pittsburgh are assigned to judges in

part based on the location and time of their arrest.

                                                 8
Case 3:17-cv-00321-WKW-SMD                         Document 6-15            Filed 05/18/17          Page 10 of 46




          At the pretrial detention hearing in both Pittsburgh and Philadelphia a magistrate hears

 information from the defendant (or the defendant’s counsel) and the prosecutor relevant to

 the defendant’s flight risk and public safety. This information includes the many factors set

 forth in Pennsylvania Rule of Criminal Procedure 523, such as: the nature of the offense,

 the strength of the evidence, the defendant’s financial resources, family and community ties,

 criminal record, and prior failures to appear. These hearings typically last only a few minutes.

 In Philadelphia and Pittsburgh, magistrates also employ a empirical risk assessment tool,

 meant to standardize decisions regarding pretrial detention.10

          Should money bail be set, detainees may only secure their release through the satisfaction

 of its financial terms. In Philadelphia, detainees may post 10% of the money bail amount

 directly to the court.

          Detainees who cannot afford the financial condition of their release remain incarcerated

 for months or even years awaiting trial. Detainees have the opportunity to move for a

 reduction in their money bail after the initial hearing. We focus on the initial assessment

 of money bail, as it is the product of a randomized judicial decision, and find this decision

 is influential in determining the final amount the defendant is required to pay, regardless of

 later modifications.

          The timeline of defendant actions around the release determination varies from state to

 state. In Pennsylvania, the detention hearing precedes the entry of the plea, ensuring that

 the magistrate’s assessment of money bail is a factor in the defendant’s plea decision from

 the beginning.



 3         DATA AND EMPIRICAL STRATEGY

 3.1         Data Summary

 We obtained comprehensive criminal data from the Administrative Office of the Pennsylvania

 Courts for 2010-2015. These include records from the local magistrate courts as well as
     10
          Although we find that these tools do not eliminate the exercise of wide judicial discretion.




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Case 3:17-cv-00321-WKW-SMD                Document 6-15         Filed 05/18/17     Page 11 of 46




 subsequent judicial and defendant decisions from the higher Court of Common Pleas. In

 Philadelphia, a separate municipal court system typically handles initial arraignments.

       Table 1 summarizes the data for our focal region of Philadelphia, where we are best able

 to establish judicial randomization, as well as Pittsburgh—the second largest jurisdiction in

 the state. Our data contain information about the entire history of detention determinations

 and money bail assessments on criminal defendants (although we focus on the money bail

 amount resulting from the initial hearing); disposition information on the list of charged

 offenses; bench warrant information; and final sentencing outcomes for individual defendants.

 Our first appendix table, Table A1, contains the top 10 most common offenses and basic

 characteristics of the cases associated with those offenses.


 3.2     Empirical Strategy

 A simple approach to addressing the role of money bail would be to run the OLS regression:


                                    Guiltit = α + βBailit + εit



       where Bailit is an indicator for whether or not individual i is assigned money bail in time

 t. Table 2 illustrates this strategy. Column 1 suggests that being assessed money bail results

 in a 1.4 percentage point increase in the probability of pleading guilty. As shown in column 3,

 this goes up to 4.3 percentage points after adding a battery of additional controls, including

 gender, race, age, and offense fixed effects. This relationship is confirmed in column 4, where

 we focus on the log of the bail amount instead of the indicator for money bail assessment.

 Figure 1 provides an illustration of this correlation for one offense: possession of marijuana.

 Defendants charged with this offense are substantially more likely to be found guilty when

 assessed money bail.

       While these estimates are consistent with a causal interpretation that higher bail amounts

 induce convictions, they are also consistent with a spurious correlation resulting from the

 endogenous bail assessment. Recall that bail assessments are not made randomly, but are

 intended to be calibrated against the nature of the offense, the flight risk of the individual,


                                                 10
Case 3:17-cv-00321-WKW-SMD               Document 6-15        Filed 05/18/17       Page 12 of 46




 and even the strength of the case. As these factors are also likely to be associated with the

 underlying guilt of the defendant, the results from Table 1 may not reflect a causal role of

 bail.

     Concerns about the endogenous assignment of bail are heightened by the results shown

 in Panel A of Figure 2, which displays the coefficients from a regression of money bail on

 various covariates. While there is a raw univariate correlation with guilt, the assessment of

 money bail is also associated with gender, race, and prior cases. The correlation of money

 bail with these covariates is indicative of the endogenous initial assignment of money bail.

     The goal of our empirical strategy is to address this endogeneity concern using the effec-

 tively random assignment of defendants to judges. Bail judges differ widely in how they treat

 similarly situated defendants. Some judges are far more likely to impose money bail, and

 to impose money bail in greater amounts, than other judges. In other words, certain judges

 over time tend to set bail when other judges would not, all else being equal. We refer to each

 judge’s propensity to set money bail as the judge’s severity. Therefore, a defendant’s chances

 of receiving money bail depend on the severity of the bail judge, not just the characteristics

 of the case and the defendant. Because defendants are close to randomly assigned to bail

 judges, the judicial assignment serves as the treatment in a natural experiment. We isolate

 the effect of the severity of the bail judge in setting money bail to determine the role of money

 bail on defendant outcomes.

     The coefficients plotted in Panel B of Figure 2 reflect our attempt to isolate the impact

 of random judicial assignment on guilt. This figure shows the relationship between a battery

 of covariates and the component of money bail that is due only to judicial severity. They are

 created by regressing several covariates on the linear prediction of money bail on a judicial

 severity measure described below. None of the covariates appear to be related to the fraction

 of variation in money bail that is driven by judicial variation, indicating random assignment.

 By contrast, our outcome variable of guilt is associated with our instrument—showing how

 the judicial assignment of bail can produce causal estimates of the impact of money bail.

     Conceptually, our identification strategy is to isolate the impact of the judge on the

 probability that an individual is assigned money bail. One approach would be to use judge-

 specific fixed effects to instrument for whether a defendant is assigned bail. This would

                                                11
Case 3:17-cv-00321-WKW-SMD                  Document 6-15                Filed 05/18/17      Page 13 of 46




 involve estimating a first stage, for individual i in court c with judge j, of:


                                       Bailicjt = α + γc + δj + vit



     and estimating the effect of Bailicjt on guilt in a second stage, where δj are judge fixed

 effects. However, the assumptions required for IV estimation via two-stage least squares

 may be violated in finite samples because of a mechanical correlation in the first stage. The

 estimated judge fixed effects are essentially an average across defendants, and with a small

 number of cases each defendant contributes significantly to the average. As discussed above,

 a defendant’s own bail assessment is likely to be correlated with unobserved factors that are

 associated with guilt. If this is true, then averaging that bail assessment with a finite number

 of other defendants’ assessments will not in general eliminate the correlation.

     A solution to this problem in the literature (e.g., Dobbie and Song (2015)) involves

 estimating a leave-out mean for each defendant:


                               ncjt                      !                 nct
                                                                                                  !
                       1       X                                  1        X
            Zicjt =                   (Bailk ) − Baili       −                 (Bailk ) − Baili
                    ncjt − 1                                   nct − 1
                               k=1                                         k=1


 which we refer to as judicial severity. The first term of Zicjt is simply the average of Bailkcjt

 for all individuals faced by judge j except for i (all k 6= i). The second term subtracts out

 the average of Bailkcjt at the court c, once again omitting individual i. Intuitively, Zicjt

 is simply judge j’s average relative to the court’s average, computed using everyone but i.

 Because Zicjt is computed without using individual i, there is no mechanical correlation. This

 leave-out mean is then used as an instrument in place of judge fixed effects.

     While the exposition above demonstrates a judge-level leave-out mean, our preferred

 instrument is slightly more granular. To account for possible non-random assignment by

 offense we compute a leave-out mean at the offense-judge level. That is, the average for

 a judge for a given offense type, relative to the court average for that offense. For this

 instrument, we need only assume that individuals of the same offense category are randomly

 assigned to judges. Our primary specifications depend on a version of the instrument in



                                                   12
Case 3:17-cv-00321-WKW-SMD                    Document 6-15             Filed 05/18/17        Page 14 of 46




 which Bailit is defined as the binary decision of whether to assign bail or not. However, we

 also examine alternative continuous measures, including log(1+ bail amount).

        Panel A of Figure 3 illustrates our estimate of judicial severity against the log bail amount,

 showing that judge severity is highly predictive of bail amounts faced by criminal defen-

 dants11 . Panel B shows that our judge severity measure is consistent over time, suggesting

 that judge severity is driven by idiosyncratic personal factors rather than temporary shocks

 or case characteristics (judge severity is even consistent across different offices when judges

 move to serve in other jurisdictions).

        In our main specifications, we instrument for Bailicto with Zictjo , our measure of judge

 severity taken from a within offense measure:


                                                       0
                          Guilticto = α + βBailicto + Xicto δ + ηcto + εictjo
                                                     0
                           Bailicto = α + γZictjo + Xicto ζ + ρcto + victjo



        with errors clustered at the jurisdiction-judge-year level. Our identifying assumption,

 taken from judge randomization, is that:



                                          corr(Zictjo , εictjo ) = 0.

 In the next section, we provide supporting evidence for this assumption.

        It is important to note that these results are created using an instrumental variable

 approach that focuses on criminal defendants induced to pay money bail as a result of judicial

 severity. In other words, we estimate a local average treatment effect (LATE) identified on the

 basis of individuals for whom changes in bail assessment resulting from variation in judicial

 severity impact guilty pleas. These defendants are more likely to represent criminal cases

 for which there is more scope for judicial variation in bail setting. Nevertheless, we do find
   11
      We measure judicial severity using a leave-out-mean of the log[1 + Money Bail Amount] at the judge-year
 level, relative to the leave-out-mean average at the court in the same year. These computed judicial measures
 are then regressed against individual measures of log bail with fixed effects for the month of arraignment.
 The resulting residuals are averaged at the judge-year level and the average log bail amount is added to each
 residuals. Panel A contrasts the averaged measure of judicial severity against average log bail amounts at the
 judge-year level. Panel B compares the averaged measure of judicial severity in one year against the same
 judge’s measure the previous year.


                                                      13
Case 3:17-cv-00321-WKW-SMD               Document 6-15         Filed 05/18/17       Page 15 of 46




 that our results persist in a number of important subcategories (including defendants facing

 felonies), and our results are quite comparable in both Philadelphia and Pittsburgh. These

 checks suggest that our results have external validity outside of the precise jurisdictions we

 examine.


 3.3     Randomization Check

 Though our analysis of the judicial assignment process in Philadelphia leads us to expect

 close-to-random assignment of cases across judges, we check this assumption by examining

 the association between our leave-out-mean estimator and a series of defendant covariates in

 Table 3. Column 1 illustrates the means of the covariates we analyze. Column 2 regresses

 our instrument against each covariate in isolation with no additional controls and reports

 the coefficient. Column 3 regresses our instrument against all covariates and includes fixed

 effects for the most severe offense among the defendant’s charges. Column 4 adds additional

 month-of-arraignment fixed effects.

       Across all specifications, we find strong evidence for random assignment. F-statistics of

 the joint significance of covariates we test against our instrument are 0.54 with only month

 fixed effects and 0.34 when including both month fixed effects and offense controls.



 4      RESULTS

 4.1     IV Results

 Table 4 presents our main results from Philadelphia. The first column shows the first stage—

 a regression of our instrument of judicial severity against a binary indicator of whether the

 defendant was assessed money bail. While defendants are on average likely to receive money

 bail (62%), we find that judicial factors also play a large role. Our first stage suggests strong

 instrumental validity: being assigned to a more severe judge results in defendants facing a

 higher likelihood of being assessed money bail. Given the close-to-random assignment to

 judges and the lack of correlation between our instrument and observable defendant charac-

 teristics, we interpret this first stage as indicating that judicial severity provides effectively

 exogenous variation in money bail.

                                                14
Case 3:17-cv-00321-WKW-SMD              Document 6-15         Filed 05/18/17      Page 16 of 46




    Column 2 presents the reduced form—a direct regression of our instrument of judge

 severity against the outcome of guilt. Although this relationship will be attenuated—because

 not all people who receive a severe judge are impacted by way of higher bail amounts—the

 strong and significant relationship in the reduced form indicates a causal relationship between

 judge severity and conviction.

    The third column scales the reduced form by the first stage to produce our instrumental

 variables estimate of the relationship between money bail and conviction. Our estimate

 suggests that defendants who are required to pay money bail as a result of being assigned to

 a severe judge are 6 percentage points more likely be convicted. Given a baseline guilt level

 of 50% in our sample, our estimate suggests that the presence of money bail increases the

 likelihood that a defendant is found guilty by about 12%.

    This estimate is large, tightly identified through our measure of judicial severity, and

 suggests a powerful role for money bail in inducing convictions. Our data do not permit

 complete analysis of whether convictions result from plea bargains or trials. However, we

 have strong results when focusing on cases in which we can explicitly observe plea behavior,

 and cases proceeding to trial appear in our sample only rarely. We believe our estimates are

 primarily driven by defendant plea behavior.

    Table 4 also provides suggestive estimates regarding the role of race in case outcomes.

 Column 1 shows that non-white defendants are 1.4 percentage points more likely to be as-

 sessed money bail. However, columns 2 and 3 show that non-whites are less likely to be

 found guilty of crimes. While these results should not be interpreted causally, as they do

 not exploit judicial randomization and may reflect non-racial factors associated with race,

 they are consistent with racial bias in the criminal justice system. They are also consistent

 with other mechanisms of the legal process. For instance, prosecutors or judges may correct

 for an initial bias in arrest by dismissing or differentially pursuing cases involving non-white

 defendants. While our data do not permit a complete analysis of racial bias in bail setting,

 this remains an interesting avenue for future research.

    We next detail the relationship between money bail, pretrial detention, and convictions.

 There are a number of paths a defendant may take following the initial bail assessment. We


                                                15
Case 3:17-cv-00321-WKW-SMD               Document 6-15       Filed 05/18/17      Page 17 of 46




 consider a categorization of four possible paths in a criminal case: defendants may be detained

 and found guilty, detained and found not guilty, released and found guilty, or released and

 found not guilty. Table 5 attempts to analyze the impact of money bail on the flow of

 defendants between these four categories. Each of the four columns presents an IV regression

 (as in column 3 of Table 2) with one of those categories as the dependent variable. As the

 dependent variables across the four columns are mutually exclusive and exhaustive, one of the

 columns is redundant, in the sense that the coefficients in any row must sum to 0. However,

 examining all four columns provides a useful picture of the impact of money bail on the path

 defendants take from bail assessment to their ultimate case outcome.

       Since defendants not receiving money bail are presumptively released, we can assume that

 the imposition of money bail is unlikely to increase the number who are released. Fort this

 reason, we observe that the judicial assignment of money bail reduces the outcome of release

 both in column 2 (release and guilty) and column 4 (release and not guilty). Although we are

 not able to precisely estimate the effects in either column, Table 5 suggests that money bail

 decreases the probability that a defendant is released and ultimately found guilty by nearly

 10 percentage points and decreases the probability that a defendant is released and found

 not guilty by nearly 8 percentage points.

       The reduction in the released population must be matched by an increase in the detained

 population. Nearly the entire increase falls into the first column: we see a 16 percentage

 point increase in the outcome of detention and guilt. In other words, money bail increases the

 probability of detention for those who would be counterfactually released, and the majority

 of the population that is detained as a result of money bail is ultimately convicted.


 4.2     Robustness

 For robustness, we provide a number of additional checks. Table 6 explores our main IV

 specification as illustrated in column 3 of Table 4 for different subsamples—being charged

 with a felony, having a public defender, being male, and being non-white. While none of

 these estimates are statistically different from our main estimates, it is noteworthy given

 our findings on race discussed above that our IV point estimate for non-whites is higher,


                                               16
Case 3:17-cv-00321-WKW-SMD                    Document 6-15    Filed 05/18/17      Page 18 of 46




 at 8.3 percentage points. Our finding on felonies, an 8.1 percentage point increase, is not

 precisely estimated but is high in magnitude and suggestive that instances of guilt induced

 by higher bail are not for low-level crimes exclusively. Being convicted of a felony typically

 results in severe long-term impacts on defendant outcomes, including opportunities for future

 employment and voting status.12

       Tables 7 and 8 explore alternate specifications of our judge severity measure. Table 7 uses

 the log of 1 plus the bail amount, effectively using both the intensive and extensive margins.

 Table 8 uses the log of the bail amount, conditional on being assigned money bail—that is,

 only the intensive margin. In Philadelphia, we find no evidence that the intensive margin

 matters, only the extensive margin of being assessed money bail.

       Next, we turn to Pittsburgh. As discussed in section 2, the nature of judicial assignment

 in Pittsburgh and the rest of the state is not as clean and does not permit a straightforward

 causal estimate. Rather than a central courtroom that handles all cases, individual magistrate

 judges are elected to districts in the city and are principally responsible for cases within that

 jurisdiction. Our judge measure therefore captures the variation arising from the difference

 between the principal judge and other judges, which account for 20–30% of cases in districts,

 typically due to the principal judge being absent on a weekend, night, vacation, or for some

 other reason. Our identifying assumption is that case loads, conditional on observables, do

 not differ between the principal judge and other judges in a given district.

       A randomization check in Appendix Table A2 suggests that there is non-random judicial

 assignment in Pittsburgh, with an F-statistic of 4.74 for various defendant characteristics

 regressed against a measure of judicial severity within Allegheny County. Nonetheless, to

 establish robustness of our primary finding outside of the city of Philadelphia, we attempt

 a version of our main specification in Pittsburgh in Table 9. Remarkably, given the extent

 of non-random assignment, we find estimates that are virtually identical in Pittsburgh—in

 column 3, we see a 6.4 percentage point increase in guilt as a result of money bail assessment.

 Due to the comparability of the Pittsburgh and Philadelphia samples, in subsequent analysis

 on recidivism we combine the two samples in order to maximize statistical power.
  12
       Though convicted felons can vote in Pennsylvania.



                                                      17
Case 3:17-cv-00321-WKW-SMD                    Document 6-15           Filed 05/18/17   Page 19 of 46




       Appendix Table A3 examines how our results vary across the distribution of bail amounts.

 To avoid an endogenous assignment of bail amounts, we first categorize offense categories

 according to the average bail amount into quartiles. Next, we estimate our main IV analysis

 within each quartile of bail assessment. Interestingly, we find that our results appear to be

 largest in the first quartile, where bail amounts are lowest. This suggests that the imposition

 of money bail, even when bail amounts are low, is sufficient to cause convictions.

       Appendix Tables A4 and A5 focus on the top five most common offenses within felonies

 and misdemeanors. Table A4 highlights the extensive margin and shows coefficients from our

 main IV specification run on individual offenses (without offense fixed effects). Interestingly,

 our results appear among various categories of theft—retail theft, receiving stolen property,

 and retail theft (misdemeanor). Our results are somewhat lower and do not reach signifi-

 cance for drug offenses, DUIs, and gun possession charges. These results are comparable to

 Stevenson (2016), who also finds substantial results among those categories and lower effects

 on drug and other charges.

       Table A5 examines the intensive margin—whether changes in the intensity of bail matter

 given that bail was set. Interestingly, we only find effects here among gun possession misde-

 meanors. It is possible that the effect could be driven by the relatively high average bail in

 this category (around $11,000). Though other offense categories also carry high bail amounts

 (such as aggravated assault), they typically also carry greater consequences which may deter

 defendants from pleading guilty. Future work will attempt to analyze why responses to bail

 setting appear to be particularly high in some offenses more than others, which may assist

 in adjusting pretrial detention standards.


 4.3      Other Outcomes

 4.3.1      Recidivism

 We next look at recidivism, which we explore in Table 10. Existing literature has documented

 the role of incarceration on future criminal activity.13 There are a variety of mechanisms

 which appear to drive this relationship, including the negative impact of incarceration on
  13
       See for instance Mueller-Smith (2016) and Aizer and Doyle (2015).


                                                      18
Case 3:17-cv-00321-WKW-SMD                Document 6-15        Filed 05/18/17       Page 20 of 46




 labor market outcomes (encouraging illegal income seeking), family disruption, loss of human

 capital, and peer effects resulting from associations with other detainees.

     We extend this literature by examining the role of money bail on future criminal activity.

 There are a number of channels through which money bail in particular might cause recidi-

 vism. As our results from section 4.1 show, money bail causes convictions, which in turn may

 entail incarceration and subsequent effects. Even without additional convictions, money bail

 may impact future criminal activity via job loss during pretrial detention, financial hardship

 caused by raising funds to make bail, or other factors. Our data do not permit, and we do not

 attempt, a complete separation of the various mechanisms linking bail assessment to future

 criminal activity.

     We follow some of the prior literature in this area by restructuring our data into a yearly

 panel format. Our main specification follows the first criminal offense committed by defen-

 dants in our data and estimates:


                      Recidivismi,t+y = α + Xi,t + µy + µt + βBaili,t + εi,t+y


     Where Recidivismi,t+y is a binary indicator equal to one if the defendant is charged with

 a crime in the yth calendar year after his or her initial charge (where the initial charge year is

 denoted by t). Xi,t is the full list of defendant controls previously included (these include the

 age, race, and gender of the defendant; along with controls for the criminal charge) which are

 taken in the calendar year of criminal charge. µy is a calendar year fixed effect; µt controls

 for the month of arraignment. Baili,t is an indicator for whether the defendant was required

 to post money bail, and is instrumented for using our judicial severity measure. β remains

 the key causal variable of interest, capturing the role of exogenous bail assessments on future

 recidivism. Our yearly defendant panel begins in the calendar year in which defendants enter

 our data as a result of initial charge, and ends in 2015 (the last year for which we have

 criminal charge data). Standard errors are clustered at the defendant level.

     The base rate of yearly recidivism in our sample (around 12% in Philadelphia) along with

 the standard errors of our IV estimates result in some statistical imprecision in our estimate

 in Philadelphia. In column 1 of Table 10, we examine the role of money bail assessment

                                                19
Case 3:17-cv-00321-WKW-SMD                Document 6-15       Filed 05/18/17     Page 21 of 46




 on the yearly probability of future criminal behavior. Though the estimate of 0.007 is quite

 large economically (corresponding to a 0.7 percentage point yearly increase in the probability

 of committing future crime, or a 6% increase), we are unable to statistically distinguish this

 result from zero. In order to gain statistical precision, in column two we expand our sample to

 a “Combined Sample” which includes data from both Pittsburgh and Philadelphia. Though

 the judicial assignment process is not as random in Pittsburgh as in Philadelphia, we find

 quite comparable results in both localities in most of our specifications—including recidivism.

 We estimate an identical effect of 0.007 in the Combined Sample (or an increase of 9%), an

 effect which is statistically significant at a 5% level.

     In columns 3 and 4, we separate future criminal charges into felonies and misdemeanors

 on the combined sample. We find that the bulk of our recidivism result is driven by money

 bail causing defendants to be charged with misdemeanors, a finding consistent with prior

 literature and the intuition that incarceration spells should raise the chances of committing

 minor crimes more than severe ones.

     Our effects can be compared with the literature examining the role of incarceration spells

 on future criminal activity. Our results are somewhat lower than Aizer and Doyle (2015), who

 find juvenile incarceration increases adult incarceration by 23 percentage points, consistent

 with a larger role for incarceration spells on the future criminal behavior of younger defen-

 dants. Our finding is more comparable to Mueller-Smith (2016), who finds that each year

 of incarceration results in a 4–7 percentage point quarterly increase in post-release criminal

 activity. While these studies examine the role of incarceration spells on criminal behavior

 directly, we examine the role of money bail—which is unlikely to be a binding constraint

 for many defendants, but leads to sizable financial costs or detention for some defendants.

 It is unsurprising our results are somewhat smaller or attenuated as a result, but remain

 striking in that we find evidence that money bail causes recidivism. Though we emphasize

 the statistical imprecision of our estimates, our results suggest that the assessment of money

 bail yields substantial negative externalities in terms of additional crime.




                                                 20
Case 3:17-cv-00321-WKW-SMD                  Document 6-15          Filed 05/18/17         Page 22 of 46




 4.3.2      Failure to Appear

 We finally analyze whether money bail impacts the probability that a defendant appears in

 court. While we do not explicitly observe failures to appear, we construct a series of proxies.

 The first, which we label “Explicit FTA”, is our most conservative. It reflects an explicit

 entry in the court calendar files of a warrant being issued as a result of the defendant failing

 to appear. While this surely captures instances in which the defendant failed to appear,

 the files lack a standard coding procedure, and so this measure may underreport the true

 number of failures to appear.14 Our second measure, “Warrant” indicates whether a warrant

 was issued at a scheduled court calendar event. This event is consistently coded when it

 occurs in the calendar files, but may capture warrants issued for reasons other than failures

 to appear. This measure has a higher mean than Explicit FTA, occurring in approximately

 one out of a hundred cases, but still may underreport the true number of failures to appear.

        Table 11 presents IV regressions as in column 3 of Table 4, but with Explicit FTA and

 Warrant as the dependent variables. The left columns restrict the sample to Philadelphia,

 while the right columns include the Combined Sample of Philadelphia and Pittsburgh. The

 coefficients on money bail are positive and insignificant in all specifications. While the im-

 precision of these estimates prevents us from drawing much from these results, we note that

 the goal of money bail is to ensure appearance at trial, that is, to have a substantial negative

 effect on failures to appear. Our results suggest that money bail has a negligible effect or, if

 anything, increases failures to appear.

        Of course, a substantial caveat to these results is imposed by the limitations of our data,

 which rely on proxies to measure defendants’ failures to appear. By contrast, prior research

 has found different estimates of appearance rates. For instance, Abrams & Rohlfs (2011)

 document that, in 2000, 22% of U.S. defendants failed to appear while 16% of those released

 on bail were rearrested. They also document in Philadelphia defendants failed to appear

 around 10–13% of the time. Our analysis focuses on later periods, and measures failures to

 appear among all defendants. Primarily, however, we use administrative court data to trace

 either: 1) when court appearances were shifted due to defendant non-appearance, or 2) when
   14
    The average of the binary indicator for this measure is extremely small: 0.001, likely reflecting this
 underreporting.


                                                    21
Case 3:17-cv-00321-WKW-SMD              Document 6-15         Filed 05/18/17      Page 23 of 46




 a warrant was issued. It is possible that defendants who fail to appear may be warned prior

 to a warrant being issued, though we expect that the court appearance data will still count

 that event as a failure to appear.

     We emphasize the incompleteness of our available data on failures to appear. It is possible

 in particular that our estimates may under-estimate the role of non-appearances in the crim-

 inal justice system. We examine the role of money bail assessment on defendants’ probability

 of appearing in court the best we can, and find little evidence of a connection.



 5    CONCLUSION

 Our findings raise substantial questions about the nature of the money bail system. We find

 substantial variation among individual magistrates in setting money bail, suggesting that

 the imposition of money bail, and therefore pretrial detention, is a function of the judge

 one receives. We exploit the random assignment of defendants to judges to examine the

 causal implications of money bail. Defendants assessed money bail have a 6 percentage point

 (12%) higher chance of conviction and a 0.7 percentage point higher yearly probability of

 being charged with further crimes (or a 6–9% increase). Our results are robust to alterna-

 tive specifications and examining different subgroups. Our results tend to be higher on the

 extensive margin—whether money bail was set at all—than the intensive amount of different

 bail amounts. Broadly, our results seem to be highest among relatively minor offenses: those

 with low average bail amounts or offenses related to retail theft. However, we do find effects

 which are sizable, if not significant, among defendants charged with felonies.

     These results have implications for both our understanding of criminal defendants’ eco-

 nomic circumstances and the institutional design of the American money bail system. Exist-

 ing research shows that a quarter of Americans report that they cannot come up with $2,000

 in 30 days (Lusardi, Schneider and Tufano (2011)), and we demonstrate how these liquidity

 issues have real impacts on household outcomes. The demands of money bail are quite low

 for those with easy access to cash, so we expect our findings are largely driven by those facing

 severe liquidity constraints.



                                               22
Case 3:17-cv-00321-WKW-SMD             Document 6-15        Filed 05/18/17      Page 24 of 46




    We also document how money bail impacts the later outcome of recidivism, potentially

 through channels of pretrial detention, the financial imposition of paying bail, or the impact

 of post-conviction incarceration spells. Our work complements other literature demonstrating

 how incarceration causally influences future criminal behavior (for instance, Mueller-Smith

 (2016) and Aizer and Doyle (2015)), but differs by providing a link to the pretrial process.

    From a legal perspective, our work raises both conceptual and practical issues. Examining

 the pretrial detention phase of the criminal justice system is particularly topical given the

 recent policy focus on reducing the incarcerated population in the United States. While

 sentencing decisions may involve tradeoffs between harms to criminal defendants and the

 goals of punishment, our analysis indicates a much weaker tradeoff regarding the imposition

 of money bail on criminal defendants. Money bail imposes many costs on society —including

 those stemming from pretrial detention, convictions, and recidivism — yet we find no evidence

 that money bail results in positive outcomes, such as an increase in defendants’ rate of

 appearance at court. Reducing the number of arrestees held pretrial may be a relatively

 low-cost way of decreasing the size of the incarcerated population.

    The system of money bail also raises substantive issues related to equal protection. Past

 work has noted the potential for racial discrimination in the bail system (e.g. Ayres and

 Waldfogel, 1994) and we find suggestive evidence consistent with this notion: non-white

 defendants are assessed bail more frequently, despite being convicted less often. However,

 our primary result highlights the importance of wealth in access to justice. Many defendants

 appear to be found guilty simply due to an inability to pay money bail, indicating two

 systems: one for the rich and one for the poor.




                                              23
Case 3:17-cv-00321-WKW-SMD            Document 6-15        Filed 05/18/17      Page 25 of 46




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                                             24
Case 3:17-cv-00321-WKW-SMD           Document 6-15         Filed 05/18/17   Page 26 of 46




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                                            25
Case 3:17-cv-00321-WKW-SMD                     Document 6-15   Filed 05/18/17   Page 27 of 46




                                                Figure 1
                             Guilt by Bail Status: Possession of Marijuana
                  .8
                  .6
         Proportion Guilty
              .4  .2
                  0




                                 No Bail Set                       Bail Set




                                                    26
Case 3:17-cv-00321-WKW-SMD                                  Document 6-15      Filed 05/18/17      Page 28 of 46




                                      Figure 2
       Randomization Check: Regression Coefficients of Covariates on Money Bail

                                              Panel A: Raw Association With Money Bail

                        .15        .1
          Association with Money Bail
          0           .05
                        −.05




                     Non−White                   Race Recorded      Male        Prior Cases        Guilty


                                        Panel B: Money Bail as Instrumented by Judicial Severity
                        .15        .1
          Association with Money Bail
          0           .05
                        −.05




                     Non−White                   Race Recorded      Male        Prior Cases        Guilty




                                                                  27
Case 3:17-cv-00321-WKW-SMD                              Document 6-15           Filed 05/18/17   Page 29 of 46




                                                           Figure 3
                                        Panel A: Judicial Severity vs. Log Bail Amount


                     15
                     10
         Log Bail Amount
                5    0
                     −5




                                   −5                   0                       5                10
                                                            Judge Severity


                                         Panel B: Judicial Severity t-1 v. Severity in t
                     10
         Severity Measure, t − 1
           0         −5      5




                                   −5                   0                       5                10
                                                            Judge Severity, t




                                                               28
Case 3:17-cv-00321-WKW-SMD                         Document 6-15              Filed 05/18/17           Page 30 of 46




                                                    Table 1
                                                Summary Statistics

                                                              Philadelphia            Pittsburgh
                                                              Mean         SD       Mean        SD
                    Age                                       33.5        11.6       33.4       11.7
                    Non-White                                 0.56          -        0.42         -
                    Race Missing                              0.12          -       0.027         -
                    Male                                      0.81          -        0.77         -
                    Prior Cases                               0.42          -        0.33         -
                    Total Offenses                            3.42        2.95       4.68       3.48
                    Case Guilty                               0.50          -        0.77         -
                    Total Bail                               24083       74891      12964      28697
                    Money Bail                                0.62          -        0.53         -
                    Posted Money Bail                         0.31          -        0.24         -
                    Bench Warrant                            0.019          -        0.15         -
                    Charged With Future Crime                 0.43          -        0.33         -
                    Sample Size                              203188                 57145
 The sample includes criminal cases in Philadelphia and Pittsburgh in the period 2010–2015. Bail information is reported
 from the magistrate level; case disposition information is taken from the most severe offense for which the defendant was
 charged; and bench warrant information is taken from a merged dataset of all bench warrants filed in association with
 a particular docket. Prior cases are taken within our sample, so the measure does not account for crimes committed
 in the period prior to our sample. Defendants are recorded as having posted money bail if money bail was initially set
 and their bail status was at some point listed as posted.




                                                           29
Case 3:17-cv-00321-WKW-SMD                     Document 6-15              Filed 05/18/17           Page 31 of 46




                                             Table 2
                             OLS Regressions of Guilt on assigned Bail

                                 No Controls        Offense FEs        Full Controls       Full Controls
                                     (1)                (2)                 (3)                 (4)
      Any Money Bail                 0.014∗             0.092∗∗∗            0.043∗∗∗
                                    (0.008)            (0.007)             (0.006)
      Log(Money Bail)                                                                           0.004∗∗∗
                                                                                               (0.001)
      Proportion Guilty              0.498              0.498               0.498               0.498
      N                             200643             200643              200617              200617
      Case Controls                   No                 No                  Yes                 Yes
      Offense FEs                     No                 Yes                 Yes                 Yes
      Month FEs                       Yes                Yes                 Yes                 Yes
      OLS regressions of a binary indicator of a case disposition of guilt on a binary indicator equal to 1 if
     money bail is initially assigned to the case (Columns 1-3) or the continuous measure log[1+money bail
     amount] (column 4). Case controls include age, age2 , prior cases, number of offenses, and indicators for
     race, gender and out-of-state.Offense and month of arraignment fixed effects are also included. Standard
     errors are clustered at the judge-year level * p < 0.10, ** p < 0.05, *** p < 0.01.




                                                        30
Case 3:17-cv-00321-WKW-SMD                  Document 6-15               Filed 05/18/17                Page 32 of 46




                                             Table 3
                                        Randomization Tests

                                                                    Joint Regressions
                                  Means        Pairwise         No Controls          Controls
                                   (1)           (2)                (3)                (4)
            Non-White              0.56         0.00035           0.00037             0.00020
                                                (0.000)            (0.001)            (0.001)
            Race Missing           0.12        -0.00026          -0.000015           -0.00014
                                                (0.001)            (0.001)            (0.001)
            Male                   0.81         0.00053           0.00043           -0.000066
                                                (0.001)            (0.001)            (0.001)
            Age                    33.5       -0.0000010        -0.00000041         0.000016
                                                (0.000)            (0.000)            (0.000)
            Out of State           0.031         0.0018            0.0019             0.0026
                                                (0.001)            (0.001)            (0.002)
            Prior Cases            0.42         0.00013           0.00013             0.00037
                                                (0.000)            (0.000)            (0.001)
            N. of cases                                            200617             200617
            F-Statistic                                             0.54               0.34
            Offense FEs                            No                 Yes               Yes
            Month FEs                              No                 No                Yes
            OLS regressions of our judge severity measure on case characteristics for the
           Philadelphia sample. Column 1 presents means of case characteristics. Column
           2 presents coefficients of separate bivariate regressions of the judge severity mea-
           sure on each case characteristic. Column 3 contains the coefficients from a single
           regression of the judge severity measure on all case characteristics and month fixed
           effects. Column 4 shows the coefficients from a regression identical to column 3,
           but additionally including offense fixed effects. F-statistics are reported for the test
           of joint significance of all shown case characteristics. * p < 0.10, ** p < 0.05, ***
           p < 0.01.




                                                     31
Case 3:17-cv-00321-WKW-SMD                  Document 6-15               Filed 05/18/17            Page 33 of 46




                                            Table 4
                             IV Regressions of Guilt on Money Bail

                                         First Stage           Reduced Form                IV
                                     Any Money Bail             Case Guilty          Case Guilty
                                          (1)                       (2)                  (3)
         Severity                            0.587∗∗∗                0.036∗∗
                                            (0.028)                 (0.017)
         Any Money Bail                                                                  0.061∗∗
                                                                                        (0.028)
         Non-White                           0.014∗∗∗             −0.026∗∗∗            −0.027∗∗∗
                                            (0.003)                (0.003)              (0.003)
         Male                                0.077∗∗∗                0.026∗∗∗            0.021∗∗∗
                                            (0.006)                 (0.003)             (0.003)
         Mean of Dep. Var.                   0.623                   0.498               0.499
         N                                  200617                  200617              200615
         Case Controls                        Yes                     Yes                  Yes
         Offense FEs                          Yes                     Yes                  Yes
         Month FEs                            Yes                     Yes                  Yes
         IV regressions of a binary indicator of a case disposition of guilt (Case Guilty) on a binary
        indicator equal to 1 if money bail is initially assigned (Any Money Bail) instrumented by
        our judge severity measure based on Any Money Bail. Only the Philadelphia sample is
        included. The first column presents the first stage, an OLS regression of Any Money Bail
        on our judge severity measure. The second column presents the reduced form: a regression
        of Case Guilty on our judge severity measure. The final column presents the IV regression
        itself. Case controls include age, age2 , prior cases, number of offenses, and an indicator for
        out-of-state. Offense and month of arraignment fixed effects are also included. Standard
        errors are clustered at the judge-year level * p < 0.10, ** p < 0.05, *** p < 0.01.




                                                     32
Case 3:17-cv-00321-WKW-SMD                 Document 6-15              Filed 05/18/17           Page 34 of 46




                                       Table 5
              IV Regressions of Guilt × Detention Status on Money Bail

                                                 Guilty                    Not Guilty
                                       Detained       Released       Detained       Released
                                         (1)            (2)            (3)            (4)
           Any Money Bail                0.161∗∗∗ −0.098∗              0.014       −0.077
                                        (0.059)   (0.060)             (0.050)      (0.053)
           Non-White                   −0.006∗∗       −0.021∗∗∗        0.029∗∗∗ −0.003
                                       (0.002)        (0.003)         (0.003)   (0.004)
           Male                          0.029∗∗∗ −0.008               0.028∗∗∗ −0.049∗∗∗
                                        (0.005)   (0.005)             (0.006)   (0.006)
           Mean of Dep. Var.             0.226            0.272        0.178          0.323
           N                            200615           200615       200615         200615
           Case Controls                   Yes            Yes           Yes            Yes
           Offense FEs                     Yes            Yes           Yes            Yes
           Month FEs                       Yes            Yes           Yes            Yes
           IV regressions of a binary indicator of a new measure of full defendant outcomes on
          a binary indicator equal to 1 if money bail is initially assigned (Any Money Bail)
          instrumented by our judge severity measure based on Any Money Bail. Only the
          Philadelphia sample is included. Outcomes for defendants are split into four categories
          corresponding to the interaction of being detained and a case disposition of guilty.
          Detained defendants were either remanded without the ability to post bail, or failed
          to post bail given the assessment of money bail. Released individuals either did not
          receive money bail or posted money bail. Each of the four columns presents an IV
          regression with one of those category as the dependent variable. Case controls include
          age, age2 , prior cases, number of offenses, and an indicator for out-of-state. Offense
          and month of arraignment fixed effects are also included. Standard errors are clustered
          at the judge-year level * p < 0.10, ** p < 0.05, *** p < 0.01.




                                                    33
Case 3:17-cv-00321-WKW-SMD                  Document 6-15              Filed 05/18/17           Page 35 of 46




                                        Table 6
             IV Regressions of Guilt on Money Bail by Case Characteristics

                                    Felony      Public Defender          Male       Non-White
                                     (1)              (2)                (3)           (4)
         Any Money Bail              0.081             0.054∗            0.060∗         0.083∗∗
                                    (0.061)           (0.029)           (0.032)        (0.034)
         Non-White                 −0.045∗∗∗         −0.026∗∗∗         −0.026∗∗∗
                                   (0.003)           (0.003)            (0.003)
         Male                        0.020∗∗∗          0.024∗∗∗                         0.024∗∗∗
                                    (0.006)           (0.004)                          (0.004)
         Proportion Guilty           0.541             0.492             0.509          0.515
         N                           94658            126757            162691         112280
         Case Controls                Yes                 Yes             Yes            Yes
         Offense FEs                  Yes                 Yes             Yes            Yes
         Month FEs                    Yes                 Yes             Yes            Yes
         IV regressions of a binary indicator of case dispositions on a binary indicator equal to 1
        if money bail is initially assigned (Any Money Bail) instrumented by our judge severity
        measure based on Any Money Bail. Only the Philadelphia sample is included. Each column
        restricts to the subsample indicated in the column header. Felony refers to defendants are
        who are charged with a felony offenses, public defender refers to defendants represented by
        public defenders. Case controls include age, age2 , prior cases, number of offenses, and an
        indicator for out-of-state. Offense and month of arraignment fixed effects are also included.
        Standard errors are clustered at the judge-year level * p < 0.10, ** p < 0.05, *** p < 0.01.




                                                     34
Case 3:17-cv-00321-WKW-SMD                   Document 6-15              Filed 05/18/17           Page 36 of 46




                                            Table 7
                          IV Regressions of Guilt on Log(Money Bail)

                                         First Stage           Reduced Form                IV
                                     Log(Money Bail)             Case Guilty         Case Guilty
                                          (1)                        (2)                 (3)
         Severity                            0.561∗∗∗                0.004∗
                                            (0.027)                 (0.002)
         Log(Money Bail)                                                                 0.006∗∗
                                                                                        (0.003)
         Non-White                           0.153∗∗∗              −0.026∗∗∗           −0.027∗∗∗
                                            (0.024)                (0.003)              (0.003)
         Male                                0.829∗∗∗                0.026∗∗∗            0.021∗∗∗
                                            (0.058)                 (0.003)             (0.004)
         Mean of Dep. Var.                   5.695                   0.498                0.499
         N                                  200617                  200617               200615
         Case Controls                        Yes                     Yes                  Yes
         Offense FEs                          Yes                     Yes                  Yes
         Month FEs                            Yes                     Yes                  Yes
         IV regressions of a binary indicator of a case disposition of guilt (Case Guilty) on the con-
        tinuous measure log[1+money bail amount] (Log(Money Bail)) instrumented by our judge
        severity measure based on Log(Money Bail). Only the Philadelphia sample is included. The
        first column presents the first stage, an OLS regression of Log(Money Bail) on our judge sever-
        ity measure. The second column presents the reduced form: a regression of Case Guilty on
        our judge severity measure. The final column presents the IV regression itself. Case controls
        include age, age2 , prior cases, number of offenses, and an indicator for out-of-state. Offense
        and month of arraignment fixed effects are also included. Standard errors are clustered at the
        judge-year level * p < 0.10, ** p < 0.05, *** p < 0.01.




                                                     35
Case 3:17-cv-00321-WKW-SMD                       Document 6-15               Filed 05/18/17           Page 37 of 46




                                              Table 8
                  IV Regressions of Guilt on Log(Money Bail) – Intensive Margin

                                                    First Stage                 Reduced Form                IV
                                          Log(Money Bail | Bail>0)                Case Guilty         Case Guilty
                                                   (1)                                (2)                 (3)
  Severity                                              0.489∗∗∗                    −0.006
                                                       (0.035)                       (0.008)
  Log(Money Bail | Bail > 0)                                                                            −0.013
                                                                                                         (0.016)
  Non-White                                             0.047∗∗∗                    −0.037∗∗∗           −0.036∗∗∗
                                                       (0.007)                       (0.002)             (0.002)
  Male                                                  0.344∗∗∗                      0.019∗∗∗            0.023∗∗∗
                                                       (0.021)                       (0.004)             (0.006)
  Mean of Dep. Var.                                     9.143                         0.506                0.499
  N                                                    124352                        124352               124338
  Case Controls                                          Yes                           Yes                  Yes
  Offense FEs                                            Yes                           Yes                  Yes
  Month FEs                                              Yes                           Yes                  Yes
  IV regressions of a binary indicator of a case disposition of guilt (Case Guilty) on the continuous measure log[money
 bail amount], instrumented by our judge severity measure based on log[money bail amount]. Only the Philadelphia
 sample is included, and defendants with no money bail are excluded. The first column presents the first stage, an
 OLS regression of log[money bail amount] on our judge severity measure. The second column presents the reduced
 form: a regression of Case Guilty on our judge severity measure. The final column presents the IV regression itself.
 Case controls include age, age2 , prior cases, number of offenses, and an indicator for out-of-state. Offense and month
 of arraignment fixed effects are also included. Standard errors are clustered at the judge-year level * p < 0.10, **
 p < 0.05, *** p < 0.01.




                                                          36
Case 3:17-cv-00321-WKW-SMD                  Document 6-15               Filed 05/18/17            Page 38 of 46




                                          Table 9
                    IV Regressions of Guilt on Money Bail – Pittsburgh

                                         First Stage           Reduced Form                IV
                                     Any Money Bail             Case Guilty          Case Guilty
                                          (1)                       (2)                  (3)
         Severity                            0.391∗∗∗                0.025∗
                                            (0.026)                 (0.013)
         Any Money Bail                                                                  0.064∗∗
                                                                                        (0.031)
         Non-White                           0.107∗∗∗             −0.004               −0.011
                                            (0.006)                (0.006)              (0.007)
         Male                                0.084∗∗∗                0.053∗∗∗            0.047∗∗∗
                                            (0.006)                 (0.006)             (0.006)
         Mean of Dep. Var.                  0.495                   0.777                0.766
         N                                  38149                   38149                38141
         Case Controls                        Yes                     Yes                  Yes
         Offense FEs                          Yes                     Yes                  Yes
         Month FEs                            Yes                     Yes                  Yes
         IV regressions of a binary indicator of a case disposition of guilt (Case Guilty) on a binary
        indicator equal to 1 if money bail is initially assigned (Any Money Bail) instrumented by our
        judge severity measure based on Any Money Bail. Only the Allegheny county (Pittsburgh)
        sample is included. The first column presents the first stage, an OLS regression of Any
        Money Bail on our judge severity measure. The second column presents the reduced form:
        a regression of Case Guilty on our judge severity measure. The final column presents the
        IV regression itself. Case controls include age, age2 , prior cases, number of offenses, and an
        indicator for out-of-state. Offense and month of arraignment fixed effects are also included.
        Standard errors are clustered at the office-judge-year level * p < 0.10, ** p < 0.05, ***
        p < 0.01.




                                                     37
Case 3:17-cv-00321-WKW-SMD                       Document 6-15               Filed 05/18/17          Page 39 of 46




                                             Table 10
                         IV Panel Regressions of Recidivism on Money Bail

                                             Philadelphia                     Combined Sample
                                              All Charges        All Charges        Felony      Misdemeanor
                                                  (1)                (2)             (3)            (4)
    Any Money Bail                                0.007              0.007∗∗         0.002           0.006∗∗
                                                 (0.008)            (0.004)         (0.003)         (0.003)
    Non-White                                   −0.012∗∗∗          −0.008∗∗∗         0.003∗∗∗      −0.012∗∗∗
                                                 (0.001)           (0.001)          (0.001)        (0.001)
    Male                                          0.026∗∗∗           0.017∗∗∗        0.018∗∗∗        0.002∗∗∗
                                                 (0.001)            (0.001)         (0.001)         (0.001)
    Mean of Dep. Var.                             0.117             0.0811          0.0442           0.0424
    N                                            522395             862163          862163           862163
    Case Controls                                  Yes                 Yes            Yes              Yes
    Offense FEs                                    Yes                 Yes            Yes              Yes
    Month of Initial Offense FEs                   Yes                 Yes            Yes              Yes
    Calendar Year FEs                              Yes                 Yes            Yes              Yes
    IV regressions of recidivism on a binary indicator equal to 1 if money bail is initially assigned (Any Money
   Bail) instrumented by our judge severity measure. Recidivism is a binary indicator equal to one if the defendant
   is charged with a new offense in the current calendar year following the case in question. Only the IV regression
   is displayed in each column. Defendants are included in a yearly panel starting with the calendar year of offense
   until 2015 (the last year for which we have criminal charge data). Case controls are taken from the first case
   in our records only, and include age, age2 , prior cases, number of offenses, and an indicator for out-of-state.
   Subsequent charges are included only as instances of recidivism. Offense and month of arraignment fixed effects
   are also included, as are controls for the calendar year. The first column includes data only from Philadelphia
   (episodes of recidivism may reflect future crimes committed anywhere else in the state); the remaining columns
   include combined data from Pittsburgh and Philadelphia (the “Combined Sample”). Column 3 uses as a
   dependent variable only future crimes which are classified as felonies; column 4 focuses on future misdemeanor
   offenses. Standard errors are clustered at the defendant level * p < 0.10, ** p < 0.05, *** p < 0.01.




                                                         38
Case 3:17-cv-00321-WKW-SMD                   Document 6-15              Filed 05/18/17            Page 40 of 46




                                           Table 11
                      IV Regressions of Failure to Appear on Money Bail

                                            Philadelphia                   Combined Sample
                                    Explicit FTA         Warrant       Explicit FTA         Warrant
                                         (1)              (2)               (3)              (4)
        Any Money Bail                   0.003              0.018           0.002             0.005
                                        (0.003)            (0.021)         (0.002)           (0.008)
        Non-White                      −0.000            −0.001           −0.000            −0.001
                                        (0.000)          (0.001)          (0.000)           (0.001)
        Male                           −0.000            −0.000           −0.000              0.000
                                        (0.000)          (0.002)          (0.000)            (0.001)
        Mean of Dep. Var.                0.001              0.010           0.001             0.007
        N                               200615             200615          238614            299779
        Case Controls                      Yes              Yes               Yes              Yes
        Offense FEs                        Yes              Yes               Yes              Yes
        Month FEs                          Yes              Yes               Yes              Yes
        IV regressions of binary indicators for failing to appear (FTA) at court dates on a binary indi-
       cator equal to 1 if money bail is initially assigned (Any Money Bail) instrumented by our judge
       severity measure based on Any Money Bail. The two columns present two different variables
       indicating that the defendant failed to appear. Calendar FTA is an indicator equal to one if
       the defendant is explicitly listed as having failed to appear at a scheduled calendar event in the
       data. Bench Warrant FTA is an indicator if a bench warrant was issued for the defendant. Only
       the Philadelphia sample is included. Case controls include age, age2 , prior cases, number of
       offenses, and an indicator for out-of-state. Offense and month of arraignment fixed effects are
       also included. Standard errors are clustered at the judge year level * p < 0.10, ** p < 0.05, ***
       p < 0.01.




                                                      39
Case 3:17-cv-00321-WKW-SMD   Document 6-15   Filed 05/18/17   Page 41 of 46




 Appendix




                                  40
                                                       Table A1: Common Offenses
                                                                                                                                             Case 3:17-cv-00321-WKW-SMD




                                                                                  Count    Any Money Bail   Bail Amount   Non-White   Male
     Intentional Possession of a Controlled Substance                             22,846        15%             $643        48%       84%
     Manufacture, Delivery, or Possession With Intent to Manufacture or Deliver   18,913        87%           $17,511       56%       92%
     Aggravated Assault                                                           12,417        97%           $49,645       63%       77%




41
     DUI: 1st Offense                                                             11,436        27%            $2,166       43%       82%
     Retail Theft-Take Merchandise                                                10,424        36%            $1,284       58%       63%
     Simple Assault                                                                6,293        84%            $4,449       54%       80%
                                                                                                                                             Document 6-15




     Possession of Instrument Of Crime W/Intent to Employ                          6,081        85%           $10,928       54%       66%
     Receiving Stolen Property                                                     5,865        55%           $14,205       59%       85%
     Possession Of Marijuana                                                       5,641        10%             $433        72%       92%
     Purchase or receipt of Controlled Substance by Unauthorized Person            5,518        11%             $288        35%       76%
                                                                                                                                             Filed 05/18/17
                                                                                                                                             Page 42 of 46
Case 3:17-cv-00321-WKW-SMD         Document 6-15      Filed 05/18/17       Page 43 of 46




                   Table A2: Randomization Check in Pittsburgh

                                                   Joint Regressions
                           Means     Pairwise    No Controls   Controls
                            (1)        (2)           (3)         (4)
            Non-White       0.42     0.019∗∗∗      0.019∗∗∗     0.015∗∗∗
                                      (0.002)      (0.002)      (0.004)
            Race Missing   0.027      0.0050       0.015∗∗       -0.013
                                      (0.007)      (0.007)      (0.011)
            Male            0.77     0.014∗∗∗      0.013∗∗∗    0.0093∗∗∗
                                      (0.003)      (0.003)      (0.003)
            Age             33.4     -0.00011     -0.000042    0.000053
                                      (0.000)      (0.000)      (0.000)
            Out of State   0.029      0.015∗∗      0.016∗∗       0.014∗
                                      (0.007)      (0.007)      (0.009)
            Prior Cases     0.33    -0.0063∗∗∗    -0.0060∗∗      0.0036
                                      (0.002)      (0.002)      (0.003)
            N. of cases                            38149         38149
            F-Statistic                             20.0          4.74
            Offense FEs                No           Yes          Yes
            Month FEs                  No           No           Yes




                                        42
Case 3:17-cv-00321-WKW-SMD                   Document 6-15        Filed 05/18/17      Page 44 of 46




                            Table A3: IV Specification by Bail Amounts

                                  1st Quartile    2nd Quartile    3rd Quartile   4th Quartile
                                      (1)             (2)             (3)            (4)
      Any Money Bail                0.097∗∗              0.013        0.068          0.040
                                     (3.05)              (0.07)       (0.57)         (0.30)
      Age                           0.014∗∗             0.0047     -0.0078∗∗      -0.0097∗∗
                                    (10.44)              (1.52)      (-4.06)        (-7.25)
      Age2                        -0.00016∗∗          -0.000039   0.000084∗∗      0.00011∗∗
                                   (-10.29)             (-1.12)       (3.37)         (6.03)
      Non-White                    -0.040∗∗             0.011∗      -0.063∗∗       -0.055∗∗
                                    (-5.82)              (2.11)     (-11.55)        (-8.32)
      Race Missing                  -0.22∗∗             -0.16∗∗      -0.20∗∗        -0.19∗∗
                                   (-23.65)             (-8.70)      (-9.96)       (-13.71)
      Male                         -0.021∗∗            0.036∗∗       0.11∗∗        0.033∗∗
                                    (-3.95)              (3.08)       (6.86)         (4.21)
      Offense Controls                Yes                 Yes          Yes            Yes
      Other Controls                  Yes                 Yes          Yes            Yes
      Office × Month                  Yes                 Yes          Yes            Yes
      N. of cases                    43974             47396         46327          46047
      Avg. Bail Amount               734.2             3638.5       14974.9        65859.3
      Marginal effects; t statistics in parentheses
      (d) for discrete change of dummy variable from 0 to 1
      ∗
          p < 0.05, ∗∗ p < 0.01




                                                      43
Case 3:17-cv-00321-WKW-SMD               Document 6-15           Filed 05/18/17       Page 45 of 46




           Table A4: IV Specification by Bail Amounts, Extensive Margin

                                                IV Coefficient      N     Avg. Bail
                                                    (1)            (2)      (3)
                                                           Panel A: Felonies
           Drug Possession, Distribute                 0.016      23652     16940.5
                                                      (0.27)
           Aggravated Assault                         -0.33∗      12382     49633.7
                                                      (-2.36)
           Burglary                                   -0.086       4420     20715.6
                                                      (-0.43)
           Retail Theft                                0.24∗       4323      2075.2
                                                      (2.59)
           Receiving Stolen Property                   0.21∗       3644     20077.5
                                                      (2.38)
                                                        Panel B: Misdemeanors
           Possession of Drugs                         0.023      22776      542.1
                                                      (0.62)
           1st DUI                                     0.024      11419      2166.3
                                                      (0.56)
           Simple Assault                              0.048       6270      4449.4
                                                      (0.71)
           Gun Possession                              0.019       6064     10927.9
                                                      (0.20)
           Retail Theft                                0.11∗       6059       719.6
                                                      (2.03)
           Offense Controls                             Yes        Yes         Yes
           Other Controls                               Yes        Yes         Yes
           Office × Month                               Yes        Yes         Yes
           Marginal effects; t statistics in parentheses
           (d) for discrete change of dummy variable from 0 to 1
           ∗
               p < 0.05, ∗∗ p < 0.01




                                                 44
Case 3:17-cv-00321-WKW-SMD               Document 6-15           Filed 05/18/17       Page 46 of 46




               Table A5: IV Specification by Bail Amounts, Intensive Margin

                                                IV Coefficient      N     Avg. Bail
                                                    (1)            (2)      (3)
                                                           Panel A: Felonies
           Drug Possession, Distribute               -0.016       20336     16940.5
                                                     (-0.98)
           Aggravated Assault                        -0.020       12033     49633.7
                                                     (-0.62)
           Burglary                                   0.046        4185     20715.6
                                                      (1.27)
           Retail Theft                               0.059        2318      2075.2
                                                      (1.01)
           Receiving Stolen Property                   -0.39       2078     20077.5
                                                     (-0.83)
                                                        Panel B: Misdemeanors
           Possession of Drugs                      -0.100∗∗       3412       542.1
                                                     (-2.90)
           1st DUI                                   -0.021        3090      2166.3
                                                     (-0.55)
           Simple Assault                            -0.022        5239      4449.4
                                                     (-0.67)
           Gun Possession                            0.096∗∗       5147     10927.9
                                                      (2.84)
           Retail Theft                              -0.027        1442       719.6
                                                     (-0.68)
           Offense Controls                             Yes        Yes         Yes
           Other Controls                               Yes        Yes         Yes
           Office × Month                               Yes        Yes         Yes
           Marginal effects; t statistics in parentheses
           (d) for discrete change of dummy variable from 0 to 1
           ∗
               p < 0.05, ∗∗ p < 0.01




                                                 45
